
SULLIVAN, Judge.
For the reasons discussed in the companion case in this consolidated matter, Warren Energy Resources, Inc. v. Louisiana Tax Commission, et al., 02-115, (La.App. 3 Cir. 08/28/02), 825 So.2d 572, the judgment of the trial court is affirmed in part and reversed in part. All costs are assigned fifty percent to the Assessor and fifty percent to Dynegy.
It is ordered that the amounts paid under protest by Dynegy in connection with Docket Nos. 10-14846 and 10-15183 be refunded and that accrued interest be paid to it in accordance with the provisions of La.R.S. 47:1998.
AFFIRMED IN PART AND REVERSED IN PART.
AMY, J., dissents in part and concurs in part for the reasons assigned in 02-115 Warren Energy Resources, Inc. v. Louisiana Tax Com’n.
